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                                                   Case: 2:21−mj−30068
                                                   Assigned To : Unassigned
                                                   Assign. Date : 2/9/2021
                                                   Description: USA V. VINCENT
                                                   LAMAR CLARK (CMP)(MEV)
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     AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

     I, Angela Bunch, being duly sworn, depose and state the following:

                            I. INTRODUCTION

     1.    I am a member of the Detroit Police Department and have

been for twenty-two years. Since 2013, I have been assigned to the

Firearms Investigative Team with the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”). I became a Task Force Officer with the

ATF in May of 2014. I have a Bachelors of Applied Science. I have been

involved in numerous investigations related to violations of federal

firearm and narcotic laws.

     2.    The information outlined below is provided for the limited

purpose of establishing probable cause and does not contain all the

information known to law enforcement related to this investigation.

     3.    I am currently investigating Vincent Lamar CLARK, date of

birth xx/xx/1979, for being a felon in possession of a firearm, in violation

of 18 U.S.C. § 922(g)(1).

     4.    I reviewed a computer printout of CLARK’s criminal history

(“CCH”). CLARK has the following convictions:
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           a.     1997 - felony – weapons – receiving and concealing; 20th

                  Circuit Court – Ottawa County; and

           b.     2005 - felony – armed robbery; 20th Circuit Court –

                  Ottawa County.

            II.    SUMMARY OF THE INVESTIGATION

     5.    On August 29, 2020, at approximately 5:45 p.m., Detroit

police officers entered the Sunoco gas station at 15201 E. 7 Mile, in the

city of Detroit. They observed a male, later identified as Vincent CLARK,

exiting the location. Officers visually observed part of the handle of a

black handgun sticking out of CLARK’s left pocket.

     6.    Just before CLARK began to enter his vehicle at pump

number one, Officers approached him and asked if he possessed a

concealed pistol license (CPL). CLARK stated he was open carrying.

     7.    CLARK was detained, and a handgun removed from his

pocket. CLARK does not have a CPL, and was advised that open carry

cannot be concealed.

     8.    The officers recovered a Canick, .9mm, model TP9SF,

handgun with magazine and ammunition.




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     9.    CLARK was arrested and transported to the Detroit

Detention Center.

     10.   I contacted ATF Special Agent Michael Jacobs, an expert in

the Interstate Nexus of firearms. Agent Jacobs stated that the firearm,

based on the description provided, without physically examining it, was

manufactured outside the State of Michigan and therefore traveled in

and affected interstate commerce.

     11.   On or about May 9, 2005, CLARK was sentenced to ten and

half years to fifty years for multiple counts of armed robbery and felony

firearm. Based on his sentence, probable cause exists that CLARK is

aware that he was a convicted felon at the time he possessed the

aforementioned firearm.




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                         III.   CONCLUSION

     12.     Probable cause exists that Vincent CLARKE, a convicted

felon, did knowingly and intentionally possess a firearm, which traveled

in and affected interstate commerce, in violation of Title 18 U.S.C. §

922(g)(1).




                             Task Force Officer Angela R. Bunch
                             Bureau of Alcohol, Tobacco, Firearms and
                             Explosives


Sworn to before me and signed in my
presence and/or by reliable electronic means.


__________________________________________
HON. KIMBERLY ALTMAN
UNITED STATES MAGISTRATE JUDGE
  February 9, 2021




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